LAWIRACH.60-OheGeonle nent 1504-23 Filed 01/12/22 Page 1 of 2 PagelD #P&4R6BOf 2

Quick Find: - eam (ce)

Lawtrac ac Home MyLAWTRAC My Matters | “My iy Daily |

I i People = o Messages
= i Sep 29, 2015 | Log Out |

Diversion Contes. Main Matter Screen RAO7-1053
Coordinator SOM Investigation - McCloud family Pharmacy- 6/07 «« Main Matter Screen

 

senna med

 

Corporate Staff

 

Firms / Vendors

 

AmerisourceBergen MATTER TEXT Add New Text

 

 

 

ts

 

 

 

 

 

 

 

categories
DATE Z DESCRIPTION PATE SOURCENAME Text Records
, In- Kimber! Documents & Files
Home 06/28/12 Status os/ialtatiolee St. Gh ® Documents
a » Detailed List
Master a Threshold review request recelved by Eric Martin. » Add New
hater General Renort Based on information provided, request has been
_ alater weneral hepor cen un i denied. Customer has been shipped more than « Naeeee Leer
My Matters requested in the Threshold Review form as o metwork Sortie
esate svete dns 7/3/12. Eric Martin requested additional
"Add New New information from Eric Pitts. All pertinent ° Asset Inventory
i : information is attached. Printables |
Search a - ae
eTET In- Return To Main Screen
Corporate stat 06/20/07 Status 06/20/07House Scott RAQ7~1053
oe Staff » Edit Record «
Legal Staff oe McCloud Family Pharmacy is owned by Kevin cafe
Staff Schedule McCloud and Jeffery McCloud. Kevin is also the . ue ater
ee pharmacist in charge. The pharmacy has been a e Chrongloay
Legal Teams customer of ABC for approximately 1 year and .
Fg Ea Es ata aoe does a monthly dollar volume of 245K, The
Vendors percentage of sales which come from controls is
cies settee eet oe : 13%. The pharmacy indicated that they see scripts
Look-Up from many different physicians in the area.
Roster The Account Manager, Michael Perry, forwarded
bartee : the CSRA Form 590 and photographs.
Parlies

All information concerning an on-line search
related to this account and the completed Form
590c has been included in this file.

Document Bank

- Listing

 

 

 

merseenin Investigation does not indicate any type of -
_ Add Document diversion
Search Categories . - In- sey
sets OAT co
Search Meta Data 06/20/07 Description a eee Kirsch
CSRA opened an inquiry into McCloud Family
. Personal Folder Pharmacy, account # 010-016402 DEA
Reports: Registration # BM9558733 for excessive
- wc Hydrocodone and Alprazolam purchases in 4/07.
/ Morning Report During 4/07 the customer purchased 21K dosage
‘ units of Hydrocodone with a 12 month average of
_ Dashboard 20K and 10.BK dosage units of Alprazolam with a
a 12 month average of 11K.
Lawtrac Report Witer woe : : é = <=
" Standard Reports
Report Falders
Most Popular
AM-WV-01999
https://www5.lawtraconline.com/ablegal/default.cfm?MA=MT3 9/29/2015
HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER ABDC-STCT001395148
HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER ABDCMDL06467878

AM-WV-01999.00001

 
LAWRRAES By OW eonRISHinet 1504-23 Filed 01/12/22 Page 2 of 2 PagelD #QRO9O ro

Edit My Reports

 

 

e Generated Reports

 

Support

Gustomer Series
LAWTRAC Docs
induch, —  soenaaepeemonnes

LAWTRAG Blog

Join Our Mailing List

Join Our Community On
LinkedIn

Suggestion Box

Log Out

 

 

 

 

 

Version: 3.60
Secure: YES Last a £22018 13 Logged On Matter_MT3 | Template: Matter_MT3

Currency Exchange Look-Up Tool: er LAWTRAC 3.60 - LT Online Corp © 2015 7 28797 __.. | Seconds o
~The local time zone Is: GMT -4 Greenwich Mean Time is Tue, 29 Sep 2015 15:26:19 UTC

 

 

 

 

 

 

https://www5.lawtraconline.com/ablegal/default.cfm?MA=MT3 9/29/2015
HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER ABDC-STCT001395149
HIGHLY CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER ABDCMDL06467879

AM-WV-01999.00002
